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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW MEXICO


SID CHILDRESS,                              Case No. _______________

                Plaintiff,                  (Former County of Santa Fe, First Judicial
                                            District Court Case No. D-101-CV-2018-00808)
       v.
                                            NOTICE OF REMOVAL OF ACTION
JAMES STEVENS DEERING d/b/a
CENTRA XYZ, LLC,

                Defendant.



                Defendant JAMES STEVENS DEERING (“Defendant”), pursuant to 28 U.S.C.

§§ 1331, 1367, 1441(a), and 1446, with full reservation of all defenses, hereby removes this

action from the First Judicial District, Santa Fe, New Mexico to the United States District Court

for the District of New Mexico. In support of this Notice of Removal, Defendant states as

follows:

       Background

       1.       On March 14, 2018, an action was commenced by the filing of a Complaint for

Violations of the Telephone Consumer Protection Act, the Unfair Practices Act and Torts in the

County of Santa Fe, New Mexico, First Judicial District Court, entitled Sid Childress v. James

Stevens Deering d/b/a/ Centra XYZ, LLC, as Case No. D-101-CV-2018-00808.

       2.       The suit arises from an unspecified number of alleged telephone calls to

Plaintiff’s telephone allegedly placed by Defendant and/or that Plaintiff alleges violated the

Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”) and the New Mexico

Unfair Practices Act, NMSA §§ 57-12-22 and 57-12-10.

       3.       The first date upon which Defendant received a copy of the said Complaint was

April 12, 2018, when Defendant was served in California when copy was posted on his property.

       4.       Pursuant to the Summons accompanying the Complaint, Defendant must appear




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in court in the First Judicial District on May 14, 2018.

          5.     Defendant now timely removes this action to this Court.

          Basis for Jurisdiction

          6.     This Court has jurisdiction over this removed action pursuant to 28 U.S.C. §§

1331, 1367, and 1441(a). This claim could have been originally filed in this Court pursuant to 28

U.S.C. § 1331, as this Court has original jurisdiction over all civil actions arising under the

“Constitution, laws, or treaties of the United States.”

          7.     Plaintiffs’ Complaint asserts violations of a federal law, namely the TCPA. See

generally Ex. A. The Supreme Court of the United States in Mims v. Arrow Financial Services

LLC, 132 S. Ct. 740, 747-53 (2012), addressed the issue of whether the federal district courts

have jurisdiction over TCPA claims, holding that such a claim is, in fact, one that “arises under”

the laws of the United States. As such, this Court has federal question jurisdiction over this

matter.

          8.     Indeed, pursuant to 28 U.S.C. § 1441(a), “any civil action brought in a State court

of which the district courts of the United States have original jurisdiction, may be removed by

the defendant or the defendants, to the district court of the United States for the district and

division embracing the place where such action is pending.” Thus, this Court has federal

question jurisdiction.

          9.     Based upon the foregoing, this Court has federal question jurisdiction over this

action and venue is proper in this Court.

          10.    The Court also has supplemental jurisdiction over any claim under the New

Mexico Unfair Practices Act pursuant to 28 U.S.C. § 1367, as any such claim is so related to the

TCPA claim over which the Court has original jurisdiction that it forms part of the same case or

controversy under Article III of the United States Constitution.




          Notice Given


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       11.     Pursuant to 28 U.S.C. § 1446(d), written notice of the filing of this Notice of

Removal will be promptly served on Plaintiff, and a copy will be promptly filed with the Clerk

of the First Judicial District, Santa Fe, New Mexico.

       Removal is Timely Filed

       12.     This Notice has been timely filed within thirty (30) days of Defendant’s receipt of

a copy of the filed Complaint on April 12, 2018, as required by 28 U.S.C. § 1446(b)(2).

       Pleadings and Process

       13.     As required by 28 U.S.C. § 1446(a), copies of all state court process and

pleadings served upon Defendant are attached to this Notice of Removal as Exhibit A.

       14.     In accordance with Local Rule 81.1(a), copies of all records and proceedings from

the state court action shall be filed within twenty-eight (28) days after the filing of this Notice of

Removal.
       Venue

       15.     Pursuant to 28 U.S.C. § 1441(a), venue in this District Court is proper for

purposes of removal because this action is currently pending in the First Judicial District, Santa

Fe, New Mexico, which is in the same District as the United States District Court for the District

of New Mexico.

       Non-Waiver of Defenses

       16.     Nothing in this Notice shall be interpreted as a waiver or relinquishment of

Defendant’s rights to assert any defense or affirmative matter, including, without limitation,

motions to dismiss pursuant to Federal Rule of Civil Procedure 12.

       ACCORDINGLY, pursuant to 28 U.S.C. §§ 1331, 1367, 441(a), and 1446, this Court has

jurisdiction over this matter, and Defendant James Stevens Deering hereby removes this action

from the First Judicial District, Santa Fe, New Mexico, to this Court.




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DATED: May 14, 2018                     MALDEGEN, TEMPLEMAN & INDALL, LLP



                                        By:        /s/ Michael J. Moffett
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                                           Attorneys for Defendant JAMES STEVENS
                                           DEERING

                               CERTIFICATE OF SERVICE

      I hereby certify that on May 14, 2018, a true and correct copy of the foregoing Notice of
Removal was served on counsel of record via email and through the Court’s CM/ECF System.

                                                          /s/ Michael J. Moffett
                                                          Michael J. Moffett




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